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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MONTANA

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THE STATE OF MONTANA

 

VS.
Jason Dean Morrow No. CR 19-118-BLG-SPW
DOB: __/1983 PETITION TO OPEN

JUVENILE/SEALED RECORDS
SSN:_ XXX-XX-8373

Whereas the above-name defendant entered a plea of GUILTY to Prohibited Person in
Possession of a Firearm and Criminal Forfeiture and District Court Judge Susan P. Watters
having ordered a Pre-Sentence Investigation into the Defendant’s background, the Petitioner
requests all juvenile or sealed records pertaining to the Defendant, including Court documents,
Law Enforcement, Juvenile Court Services, County Probation, County Welfare, Department of
Institution records, medical and institutional treatment records and Department of Institutions
records, be made available.

/S/ Sarah Evans U.S. Probation/Parole Officer

 

Date

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ORDER

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The Court having considered the aforementioned petition; does hereby order the release of
pertinent juvenile records, including sealed records, held by any Court, Law Enforcement,
Juvenile Court Services, County Probation, County Welfare, medical and institutional treatment
records, Department of Institutions records or agency of the Adult/Juvenile Probation and Parole
Officer.

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Va f- OL en U.S. District Judge

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Dated this =<“ day of Zia , 20197

 
